                 Case 21-06553                     Doc 1         Filed 05/20/21 Entered 05/20/21 11:00:32                                      Desc Main
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     Fill in this information to identify your case:


     United States Bankruptcy Court for the :

     _____NORTHERN_____ District of _ ILLINOIS__
                                                (State)


     Case Number    (If known):   __________________________ Chapter you are filing under:
                                                                            Chapter 7
                                                                            Chapter 11
                                                                            Chapter 12                                                          Check if this is an
                                                                            Chapter 13                                                          amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

  Part 1:       Identify Yourself


                                               About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

1.      Your full name

        Write the name that is on your         Christina
                                               ______________________________________________                     ______________________________________________
        government-issued picture              First name                                                         First name
        identification (for example,
        your driver’s license or               Marie
                                               ______________________________________________                     ______________________________________________
        passport).                             Middle name                                                        Middle name

                                               Franzoso
                                               ______________________________________________                     ______________________________________________
        Bring your picture                     Last name                                                          Last name
        identification to your meeting
        with the trustee.                      ______________________                                             ______________________
                                               Suffix (Sr., Jr., II, III)                                         Suffix (Sr., Jr., II, III)



2.      All other names you
                                               ______________________________________________                     ______________________________________________
        have used in the last 8                First name                                                         First name
        years
                                               ______________________________________________                     ______________________________________________
                                               Middle name                                                        Middle name
        Include your married or
        maiden names.                          ______________________________________________                     ______________________________________________
                                               Last name                                                          Last name


                                               ______________________________________________                     ______________________________________________
                                               First name                                                         First name

                                               ______________________________________________                     ______________________________________________
                                               Middle name                                                        Middle name

                                               ______________________________________________                     ______________________________________________
                                               Last name                                                          Last name



3.      Only the last 4 digits of
                                                           9121
                                               XXX - XX - ________________                                        XXX - XX - ________________
        your Social Security
        number or federal
        Individual Taxpayer                    OR                                                                 OR
        Identification number
        (ITIN)
                                               9XX        - XX - ____ ____ ____ ____                              9XX    - XX - ____ ____ ____ ____



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Debtor 1   Christina                 Marie                     Franzoso
           __________________________________________________________________                            Case Number (if known) ______________________________
           First Name                 Middle Name                   Last Name



                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                            I have not used any business names or EINs.                         I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in            ______________________________________________                     ______________________________________________
      the last 8 years                  Business name                                                      Business name

                                        ______________________________________________                     ______________________________________________
      Include trade names and           Business name                                                      Business name
      doing business as names
                                        ___ ___ - ___ ___ ___ ___ ___ ___ ___                              ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                        EIN                                                                EIN

                                        ___ ___ - ___ ___ ___ ___ ___ ___ ___                              ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                        EIN                                                                EIN




5.    Where you live                                                                                       If Debtor 2 lives at a different address:


                                        260 E Chestnut St
                                        ______________________________________________                     ______________________________________________
                                        Number    Street                                                   Number    Street

                                        Unit Apartment 506
                                        ______________________________________________                     ______________________________________________


                                        Chicago                        IL      60611
                                        ______________________________________________                     ______________________________________________
                                        City                           State     ZIP Code                  City                           State     ZIP Code

                                        COOK
                                        ______________________________________________                     ______________________________________________
                                        County                                                             County



                                        If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send              the one above, fill it in here. Note that the court
                                        any notices to you at this mailing address.                        will send any notices this mailing address.


                                        ______________________________________________                     ______________________________________________
                                        Number    Street                                                   Number    Street

                                        ______________________________________________                     ______________________________________________
                                        P.O. Box                                                           P.O. Box

                                        ______________________________________________                     ______________________________________________
                                        City                           State     ZIP Code                  City                           State     ZIP Code




6.    Why you are choosing               Check one:                                                        Check one:
      this district to file for
      bankruptcy.                           Over the last 180 days before filing this petition,              Over the last 180 days before filing this petition,
                                            I have lived in this district longer than in any                 I have lived in this district longer than in any
                                            other district.                                                  other district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                            (See 28 U.S.C. § 1408                                            (See 28 U.S.C. § 1408


                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________




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Debtor 1    Christina                 Marie                     Franzoso
            __________________________________________________________________                               Case Number (if known) ______________________________
            First Name                  Middle Name                    Last Name




  Part 2:       Tell the Court About Your Bankruptcy Case



7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
      Bankruptcy Code you                  Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                      Chapter 7
      under
                                                Chapter 11

                                                Chapter 12

                                                Chapter 13


8.    How you will pay the fee                  I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                                I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                        No
      bankruptcy within the
      last 8 years?                             Yes.            None
                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY


                                                                None
                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY


                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY




10.   Are any bankruptcy                        No
      cases pending or being
      filed by a spouse who is                  Yes.   Debtor __________________________________________________ Relationship to you _____________________
      not filing this case with                        District ___________________________ When _________________ Case Number, if known ________________
      you, or by a business                                                                             MM / DD / YYYY
      parter, or by
      affiliate?
                                                       Debtor __________________________________________________ Relationship to you _____________________
                                                       District ___________________________ When _________________ Case Number, if known ________________
                                                                                                        MM / DD / YYYY




11.   Do you rent your                          No.    Go to line 12
      residence?                                Yes.   Has your landlord obtained an eviction judgment against you?



                                                             No. Go to line 12.
                                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                             this bankruptcy petition.




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Debtor 1    Christina                 Marie                     Franzoso
            __________________________________________________________________                                  Case Number (if known) ______________________________
            First Name                    Middle Name                     Last Name




 Part 3:        Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                   No.     Go to Part 4.
      of any full- or part-time                   Yes.    Name and location of business
      business?
      A sole proprietorship is a                          _______________________________________________________________________________________
      business you operate as an                          Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnerhsip, or                      _______________________________________________________________________________________
      LLC.                                                Number      Street
      If you have more than one
      sole proprietorship, use a                          _______________________________________________________________________________________
      separate sheed and attach it
      to this petition.
                                                          _________________________________________________              ______      ________________________
                                                          City                                                                       State        Zip Code


                                                          Check the appropriate box to describe your business:

                                                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                                 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                                 Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                                 Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                                 None of the above


13.   Are you filing under                   If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
      Chapter 11 of the                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
                                             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and
                                             most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business               if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
      defined by 11 U.S.C §                       No. I am not filing under Chapter 11.
      1182(1)?
      For a definition of small                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      business debtor, see                            the Bankruptcy Code.
      11 U.S.C. § 101(51D).
                                                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in § 1182(1) of the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

  Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                      No.
      property that poses or is
                                                  Yes. What is the hazard?            _________________________________________________________________
      alleged to pose a threat
      of imminent and
      indentifiable hazard to                                                         _________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                         If immediate attention is needed, why is it needed? _________________________________________
      immediate attention?
      For example, do you own
      perishable goods, or livestock                                                  _________________________________________________________________
      that must be fed, or a building
      that needs urgent repairs?

                                                         Where is the property? _______________________________________________________________
                                                                                       Number      Street



                                                                                       _______________________________________________________________

                                                                                       ____________________________________ ______           _______________
                                                                                       City                                              State         ZIP Code



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Debtor 1   Christina                 Marie                     Franzoso
           __________________________________________________________________                                  Case Number (if known) ______________________________
           First Name                    Middle Name                    Last Name




 Part 5:        Explain Your Efforts to Receive a Briefing About Credit Counseling


                                            About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a                   You must check one:                                                  You must check one:
      briefing about credit
      counseling.                               I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
      bankruptcy. You must                      Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
      truthfully check one of the               plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
      following choices. If you
      cannot do so, you are not                 I received a briefing from an approved credit                      I received a briefing from an approved credit
      eligible to file.                         counseling agency within the 180 days before I                     counseling agency within the 180 days before I
                                                filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
      If you file anyway, the court             certificate of completion.                                         certificate of completion.
      can dismiss your case, you
      will lose whatever filing fee             Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      you paid, and your creditors              you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      can begin collection activities           plan, if any.                                                       plan, if any.
      again.
                                                I certify that I asked for credit counseling                       I certify that I asked for credit counseling
                                                services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.

                                                To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                required you to file this case.                                     required you to file this case.

                                                Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after      you file.        still receive a briefing within 30 days after      you file.
                                                You must file a certificate from the          approved              You must file a certificate from the          approved
                                                agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                may be dismissed.                                                   may be dismissed.
                                                Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                days.                                                               days.

                                                I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                   Incapacity.    I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                                    deficiency that makes me                                           deficiency that makes me
                                                                    incapable of realizing or making                                   incapable of realizing or making
                                                                    rational decisions about finances.                                 rational decisions about finances.

                                                   Disability.    My physical disability causes me                    Disability.    My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.

                                                   Active duty. I am currently on active military                     Active duty. I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.

                                                If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1   Christina                 Marie                     Franzoso
           __________________________________________________________________                                Case Number (if known) ______________________________
           First Name                 Middle Name                     Last Name




 Part 6:       Answer These Questions for Reporting Purposes


                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                  as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.

                                                ________________________________________________________________

17.   Are you filing under
                                                No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
                                                Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      Do you estimate that after                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                        No.
      administrative expenses
                                                          Yes.
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                     1-49                                    1,000-5,000                                     25,001-50,000
      you estimate that you                     50-99                                   5,001-10,000                                    50,001-100,000
      owe?                                      100-199                                 10,001-25,000                                   More than 100,000
                                                200-999

19.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your assets to                   $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      be worth?                                 $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

20.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your liabilities                 $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      to be?                                    $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

 Part 7:       Sign Below


                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.

                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.

                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                         û /s/ Christina Marie Franzoso
                                                ________________________________________
                                                Signature of Debtor 1
                                                                                                                û     ______________________________________
                                                                                                                      Signature of Debtor 2


                                                             05/20/2021
                                                Executed on _________________                                         Executed on _________________
                                                               MM / DD / YYYY                                                        MM / DD / YYYY

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Debtor 1   Christina                 Marie                     Franzoso
           __________________________________________________________________                               Case Number (if known) ______________________________
           First Name                 Middle Name                  Last Name




                                      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
For your attorney, if you are         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
represented by one                    each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required
                                      by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an
if you are not represented            inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         û /s/ Jonathan Daniel Parker
                                          ________________________________________
                                          Signature of Attorney for Debtor
                                                                                                                Date
                                                                                                                            05/20/2021
                                                                                                                            _______________________
                                                                                                                            MM / DD / YYYY



                                               Jonathan Daniel Parker
                                          _______________________________________________________________________________
                                          Printed name

                                              Geraci Law L.L.C.
                                          _______________________________________________________________________________
                                          Firm name

                                              55 E. Monroe St., #3400
                                          _______________________________________________________________________________
                                          Number Street

                                          _______________________________________________________________________________


                                                Chicago
                                          _____________________________________________
                                                                                                              IL               60603
                                                                                                      __________ ____________________
                                          City                                                               State        ZIP Code



                                                          312-332-1800
                                          Contact Phone ________________________________                                        ndil@geracilaw.com
                                                                                                                Email address ___________________



                                                6297378                                                            IL
                                          ______________________________________________                        ___________
                                          Bar number                                                            State




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   Fill in this information to identify your case:


    Debtor 1                Christina                 Marie                     Franzoso
                            __________________________________________________________________
                            First Name                        Middle Name                             Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                        Middle Name                             Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                                (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                                           Check if this is an
                                                                                                                                                                         amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form . If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


  Part 1:                 Summarize Your Assets




                                                                                                                                                                          Your assets
                                                                                                                                                                          Value of what you own


 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B........................................................................................................
                                                                                                                                                                                     $ 139,000


      1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................
                                                                                                                                                                                      $ 107,867


      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................                 $ 246,867




  Part 2:                 Summarize Your Liabilities



                                                                                                                                                                          Your liabilities
                                                                                                                                                                          Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                      $141,767


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...............................................
                                                                                                                                                                                               $0
                                                                                                                                                                                        $88,459
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...........................................




  Part 3:                 Summarize Your Liabilities



 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                                      $2,736.00

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J ..................................................................................................
                                                                                                                                                                                      $2,687.67




Official Form 106Sum                     Record # 860190          Summary of Your Assets and Liabilities and Certain Statistical Information                                                      page 1
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             __________________________________________________________________                                 Case Number (if known) ______________________________
              First Name                  Middle Name                     Last Name




 Part 4:          Answer These Questions for Administrative and Statistical Records


 6. Are you filing for bankruptcy under Chapter 7, 11 or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes



 7. What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose .” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules .




 8. From the Statement of Your Current Monthly Income : Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14 .                                                                                   $ 2,736.00




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                     Total claim

     From Part 4 of Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                  0.00
                                                                                                                   $______________________


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         0.00
                                                                                                                   $______________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               0.00
                                                                                                                   $______________________


    9d. Student loans. (Copy line 6f.)                                                                                0.00
                                                                                                                   $______________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                       0.00
                                                                                                                   $______________________
    priority claims. (Copy line 6g.)


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                            0.00
                                                                                                                   $______________________




    9g. Total. Add lines 9a through 9f.                                                                               0.00
                                                                                                                   $______________________




Official Form 106Sum           Record # 860190          Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2
                              Case 21-06553                      Doc 1             Filed 05/20/21 Entered 05/20/21 11:00:32                                                             Desc Main
   Fill in this information to identify your case and this filing:                  Document     Page 10 of 62
   Debtor 1                Christina                 Marie                     Franzoso
                           __________________________________________________________________
                           First Name                       Middle Name                          Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                       Middle Name                          Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                                 (State)
   Case Number ______________________________________________                                                                                                                                     Check if this is an
    (If known)                                                                                                                                                                                    amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

   Part 1:               Describe Each Residence, Building, Land, or Other Real Esate You Own or Have an Interest In

 01. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
               No.
               Yes.        Describe.....
                                                                                  What is the property? Check all that apply.                                            Do not deduct secured claims or exemptions. Put
                                                                                      Single-family home                                                                 the amount of any secured claims on Schedule D:
      260 E Chestnut
      ______________________________________________                                                                                                                     Creditors Who Have Claims Secured by Property
      Street address, if available, or other description                              Duplex or multi-unit building

      #506                                                                            Condominium or cooperative                                                    Current value of the             Current value of the
      ______________________________________________
                                                                                                                                                                    entire property?                 portion you own?
                                                                                      Manufactured or mobile home

       Chicago                                        IL                  60611       Land                                                                                    139,000.00
                                                                                                                                                                    $________________                          139,000.00
                                                                                                                                                                                                     $________________
      ______________________________________________
      City                           State     ZIP Code                               Investment property

                                                                                      Timeshare
      ______________________________________________                                                                                                                Describe the nature of your ownership
      County                                                                          Other _______________________________                                         interest (such as fee simple, tenancy by
                                                                                                                                                                    the entireties, or a life estat), if known.
                                                                                  Who has an interest in the property? Check one.
                                                                                      Debtor 1 only                                                                 Fee simple absolute
                                                                                                                                                                    _____________________________________
                                                                                      Debtor 2 only

                                                                                      Debtor 1 and Debtor 2 only
                                                                                                                                                                            Check if this is a community property
                                                                                                                                                                            (see instructions)
                                                                                      At least one of the debtors and another

                                                                                  Other information you wish to add about this item, such as local
                                                                                                                         17-03-222-023-1032
                                                                                  property identification number: __________________________________


 2. Add the dollar value of the portion you own for all of your entries fro Part 1, including any entries for pages
    you have attached for Part 1. Write that number here .............................................................................................................   -->                                     $139,000.00


   Part 2:               Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 03. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
               No.
         Yes. Describe.....
 04. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
               No.
               Yes.        Describe.....
 5. Add the dollar value of the portion you own for all of your entries fro Part 2, including any entries for pages
                                                                                                                                                                                                                           $ 0.00
    you have attached for Part 2. Write that number here ................................................................................................   -->




Official Form 106A/B                       Record #        860190                                 Schedule A/B: Property                                                                                            Page 1 of 6
                            Case 21-06553                             Doc 1               Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                                           Document                62Number (if known) ______________________________
                                                                                                        Page 11 ofCase
              First Name                               Middle Name                             Last Name




   Part 3:          Describe Your Personal and Household Items


 Do you own or have any legal or equitable interest in any of the following items?                                                                                                            Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions
 06. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
             No.
             Yes.          Describe.....
                                               Furniture, linens, small appliances, table & chairs, bedroom set                                                                      $1,000
                                                                                                                                                                                                                1,000.00
                                                                                                                                                                                                          $____________
 07. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
       collections; electronic devices including cell phones, cameras, media players, games
             No.
             Yes.          Describe.....
                                               Flat screen TV, computer, printer, music collection, cell phone                                                                       $1,000
                                                                                                                                                                                                                1,000.00
                                                                                                                                                                                                          $____________
 08. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
             No.
             Yes.          Describe.....
                                               Art/prints                                                                                                                            $800
                                                                                                                                                                                                                  800.00
                                                                                                                                                                                                          $____________
 09. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
       and kayaks; carpentry tools; musical instruments
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                          $____________
 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                          $____________
 11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No.
             Yes.          Describe.....
                                               Everyday clothes, coats, designer wear, shoes, accessories                                                                            $1,500
                                                                                                                                                                                                                1,500.00
                                                                                                                                                                                                          $____________
 12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
       gold, silver
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                          $____________
 13. Non-farm animals
       Examples: Dogs, cats, birds, horses
             No.
             Yes.          Describe.....
                                               1 dog                                                                                                                                  $0
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                          $____________
 14. Any other personal and household items you did not already list, including any health aids you did not list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                          $____________
 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                   $4,300.00
     for Part 3. Write that number here ....................................................................................................................................   -->




Official Form 106A/B                        Record #         860190                                        Schedule A/B: Property                                                                                Page 2 of 6
                           Case 21-06553                      Doc 1         Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                             Document                62Number (if known) ______________________________
                                                                                          Page 12 ofCase
             First Name                         Middle Name                    Last Name




   Part 4:          Describe Your Financial Assets


 Do you own or have any legal or equitable interest in any of the following?                                                                   Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured claims
                                                                                                                                               or exemptions
 16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
             No.
             Yes.         Describe.....
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
      and other similar institutions. If you have multiple accounts with the same institution, list each.
             No.
             Yes.         Describe.....   Account Type:                       Institution name:
                                          Other financial account                   IDES debit card: Key Bank                                                      600.00
                                                                                                                                                           $____________
                                           Checking Account                          BOA                                                                         1,000.00
                                                                                                                                                           $____________
                                                                                                                                                                 1,600.00
                                                                                                                                                           $____________
 18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
             No.
             Yes.         Describe.....   Institution or issuer name:
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
             No.
             Yes.         Describe.....   Name of Entity and Percent of Ownership:
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No.
             Yes.         Describe.....   Issuer name:
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
             No.
             Yes.         Describe.....   Type of account and Institution name:
                                          401(k) or similar plan                _                                                                              101,967.00
                                                                                                                                                           $____________
                                                                                                                                                               101,967.00
                                                                                                                                                           $____________
 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
             No.
             Yes.         Describe.....   Institution name or individual:
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No.
             Yes.         Describe.....   Issuer name and description:
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No.
             Yes.         Describe.....   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
             No.
             Yes.         Describe.....
                                                                                                                                                                     0.00
                                                                                                                                                           $____________
 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
             No.
             Yes.         Describe.....
                                                                                                                                                                     0.00
                                                                                                                                                           $____________


Official Form 106A/B                      Record #   860190                                Schedule A/B: Property                                                 Page 3 of 6
                            Case 21-06553                             Doc 1               Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                                           Document                62Number (if known) ______________________________
                                                                                                        Page 13 ofCase
              First Name                               Middle Name                              Last Name



 27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________


 Money or property owed to you?                                                                                                                                                       Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                      or exemptions


 28. Tax refunds owed to you
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
       Social Security benefits; unpaid loans you made to someone else
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 31. Interest in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
             No.                              Company Name & Beneficiary:
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________
 35. Any financial assets you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                  $____________

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                       $103,567.00
     for Part 4. Write that number here .....................................................................................................................................   -->

   Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
             No.
             Yes.
                                                                                                                                                                                      Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                      or exemptions




Official Form 106A/B                        Record #         860190                                         Schedule A/B: Property                                                                       Page 4 of 6
                            Case 21-06553                             Doc 1               Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                                           Document                62Number (if known) ______________________________
                                                                                                        Page 14 ofCase
              First Name                               Middle Name                             Last Name



 38. Accounts receivable or commissions you already earned
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 39. Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 41. Inventory
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 42. Interests in partnerships or joint ventures
             No.                             Name of Entity and Percent of Ownership:
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 43. Customer lists, mailing lists, or other compilations
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 44. Any business-related property you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________

 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here ....................................................................................................................................   -->            $ 0.00


   Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                    If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 48. Crops—either growing or harvested
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________
 50. Farm and fishing supplies, chemicals, and feed
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________




Official Form 106A/B                        Record #         860190                                        Schedule A/B: Property                                                         Page 5 of 6
                            Case 21-06553                             Doc 1               Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                                           Document                62Number (if known) ______________________________
                                                                                                        Page 15 ofCase
              First Name                               Middle Name                             Last Name



 51. Any farm- and commercial fishing-related property you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here ....................................................................................................................................   -->            $0.00




   Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership
             No.
             Yes.          Describe.....
                                                                                                                                                                                               0.00
                                                                                                                                                                                     $____________


 54. Add the dollar value of all of your entries from Part 7. Write that number here .....................................................                               -->                  $0.00



   Part 8:          List the Totals of Each Part of this Form



 55. Part 1: Total real estate, line 2                                                                                                                                               $ 139,000.00

 56. Part 2: Total vehicles, line 5                                                                                                                        $ 0.00

 57. Part 3: Total personal and household items, line 15                                                                                           $ 4,300.00

 58. Part 4: Total financial assets, line 36                                                                                                   $ 103,567.00

 59. Part 5: Total business-related property, line 45                                                                                                      $ 0.00

 60. Part 6: Total farm- and fishing-related property, line 52                                                                                             $ 0.00

 61. Part 7: Total other property not listed, line 54                                                                                                      $ 0.00

 62. Total personal property. Add lines 56 through 61. .......................                                                                 $ 107,867.00                          $ 107,867.00



 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                     $246,867.00




Official Form 106A/B                        Record #         860190                                        Schedule A/B: Property                                                         Page 6 of 6
                           Case 21-06553                     Doc 1          Filed 05/20/21 Entered 05/20/21 11:00:32                               Desc Main
                                                                             Document     Page 16 of 62
   Fill in this information to identify your case:


   Debtor 1                Christina                 Marie                     Franzoso
                           __________________________________________________________________
                           First Name                        Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                        Middle Name                  Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                          (State)
   Case Number ______________________________________________                                                                                                   Check if this is an
    (If known)                                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                                       04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.


   Part 1:               Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions . 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions . 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on                       Current value of the       Amount of the exemption you claim       Specific laws that allow exemption
       Schedule A/B that lists this property                               portion you own

                                                                           Copy the value from        Check only one box for each exemption
                                                                           Schedule A/B
     Brief                       260 E Chestnut Chicago IL 60611 -                                                                            735 ILCS 5/12-901 - $15,000.00
                                                                                                                                              _____________________________
     description:                Primary Residence
                                 _________________________                    139,000
                                                                           $________________                 15,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               01
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Furniture, linens, small appliances,                                                                         735 ILCS 5/12-1001(b) - $1,000.00
                                                                                                                                              _____________________________
     description:                table & chairs, bedroom set
                                 _________________________                    1,000
                                                                           $________________                 1,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               06
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Flat screen TV, computer, printer,                                                                           735 ILCS 5/12-1001(b) - $1,000.00
                                                                                                                                              _____________________________
     description:                music collection, cell phone
                                 _________________________                    1,000
                                                                           $________________                 1,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               07
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Art/prints                                                                                                   735 ILCS 5/12-1001(b) - $400.00
                                                                                                                                              _____________________________
     description:                _________________________                    800
                                                                           $________________                 400
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               08
                                 ______                                                                  any applicable statutory limit       _____________________________




  Official Form 106C                          Record #     860190                  Schedule C: The Property You Claim as Exempt                                        Page 1 of 2
                      Case 21-06553                      Doc 1    Filed 05/20/21 Entered 05/20/21 11:00:32                                 Desc Main
             Christina                 Marie
                                                                   Document
                                                                      Franzoso
                                                                                Page 17 of 62
Debtor 1     __________________________________________________________________                               Case Number (if known) ______________________________
              First Name                        Middle Name              Last Name




   Part 2:         Additional Page


      Brief description of the property and line on              Current value of the   Amount of the exemption you claim             Specific laws that allow exemption
      Schedule A/B that lists this property                      portion you own

                                                                 Copy the value from    Check only one box for each exemption
                                                                 Schedule A/B
     Brief                 Everyday clothes, coats, designer                                                                         735 ILCS 5/12-1001(a),(e) - $1,500.00
                                                                                                                                     _____________________________
     description:          wear, shoes, accessories
                           _________________________                1,500
                                                                 $________________              1,500
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         11
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Other financial account, IDES debit                                                                       735 ILCS 5/12-1001(b) - $600.00
                                                                                                                                     _____________________________
     description:          card: Key Bank, 600.00
                           _________________________                600
                                                                 $________________              600
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Checking Account, BOA, 1,000.00                                                                           735 ILCS 5/12-1001(b) - $1,000.00
                                                                                                                                     _____________________________
     description:          _________________________                1,000
                                                                 $________________              1,000
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 401(k) or similar plan, _,                                                                                735 ILCS 5/12-1006 - $0.00
                                                                                                                                     _____________________________
     description:          101,967.00
                           _________________________                101,967
                                                                 $________________          $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         21
                           ______                                                           any applicable statutory limit           _____________________________

 3. Are you claiming a homestead exemption of more than $170,350?

    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment .)

           No.

           Yes. Did you acquire the property covered by the exemption within 1 ,215 days before you filed this case?

                 No

                 Yes.




  Official Form 106C                   Record #         860190           Schedule C: The Property You Claim as Exempt                                           Page 2 of 2
                                 Case 21-06553                       Doc 1       Filed 05/20/21 Entered 05/20/21 11:00:32                                       Desc Main
      Fill in this information to identify your case:                             Document     Page 18 of 62
      Debtor 1                Christina                 Marie                     Franzoso
                              __________________________________________________________________
                              First Name                     Middle Name                     Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                     Middle Name                     Last Name



      United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                             (State)
      Case Number ______________________________________________                                                                                                        Check if this is an
       (If known)                                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
 1. Do any creditors have claims secured by your property?

              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

              Yes. Fill in all of the information below.


      Part 1:               List All Secured Claims

                                                                                                                                          Column A              Column A               Column C
 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately                             Amount of claim       Value of collateral    Unsecured
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                            Do not deduct the     that supports this     portion
         As much as possible, list the claims in alphabetical order according to the creditors name.                                      value of collateral   claim                  If any

 2.1                                                                       Describe the property that secures the claim:                    2,083.00
                                                                                                                                          $_____________          139,000.00
                                                                                                                                                                $______________          0.00
                                                                                                                                                                                       $________
              Us Bank Home Mortgage
             _________________________________
                                                                                                                                          _
             Creditor's Name                                               260 E Chestnut Chicago IL 60611 - Primary
             4801 FREDERICA ST
             _________________________________                             Residence
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             OWENSBORO              KY 42301
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
                                    2015-2021
         Date Debt was incurred _____________                                                                   0684____ ____
                                                                           Last 4 digits of account number ____ ____

 2.2                                                                       Describe the property that secures the claim:                    139,684.00
                                                                                                                                          $_____________          139,000.00
                                                                                                                                                                $______________          684.00
                                                                                                                                                                                       $________
              Us Bank Home Mortgage
             _________________________________
                                                                                                                                          _
             Creditor's Name                                               260 E Chestnut Chicago IL 60611 - Primary
             4801 FREDERICA ST
             _________________________________                             Residence
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             OWENSBORO              KY 42301
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
                                    2015-2021
         Date Debt was incurred _____________                                                                   0329____ ____
                                                                           Last 4 digits of account number ____ ____

         Add the dollar value of your entries in Column A on this page. Write that number here:                                             141,767.00
                                                                                                                                          $_____________
Official Form 106D                            Record #     860190                  Schedule D: Creditors Who Have Claims Secured by _Property                                            Page 1 of 2
                          Case 21-06553                  Doc 1       Filed 05/20/21 Entered 05/20/21 11:00:32                                          Desc Main
             Christina                 Marie
                                                                      Document
                                                                        Franzoso
                                                                                   Page 19 of 62
Debtor 1     __________________________________________________________________                                   Case Number (if known) ______________________________
             First Name                    Middle Name                   Last Name




   Part 2:         List Others to Be Notified for a Debt That You Already Listed



 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




      Add the dollar value of your entries in Column A on this page. Write that number here:                                       141,767.00
                                                                                                                                 $_____________
Official Form 106D                 Record #     860190                 Schedule D: Creditors Who Have Claims Secured by _Property                                         Page 2 of 2
                                Case 21-06553                      Doc 1       Filed 05/20/21 Entered 05/20/21 11:00:32                                       Desc Main
     Fill in this information to identify your case:                            Document     Page 20 of 62
     Debtor 1                Christina                 Marie                     Franzoso
                             __________________________________________________________________
                             First Name                    Middle Name                     Last Name


     Debtor 2                __________________________________________________________________
     (Spouse, if filing)     First Name                    Middle Name                     Last Name



     United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                           (State)
     Case Number ______________________________________________                                                                                                     Check if this is an
      (If known)                                                                                                                                                    amended filing

Official Form 106E/F
                                                                                                                                                                                             12/15
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property . If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
top of any additional pages, write your name and case number (if known).

     Part 1:               List All of Your PRIORITY Unsecured Claims


 1. Do any creditors have priority unsecured claims against you?

             No. Go to Part 2.

             Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                                Total claim     Priority       Nonpriority
                                                                                                                                                                amount         amount

                           List All of Your NONPRIORITY Unsecured Claims
     Part 2:


 3. Do any creditors have nonpriority unsecured claims against you?

             No. You have nothing to report in this part. Submit this form to the court with your other schedules.

             Yes.
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.
                                                                                                                                                                               Total claim
 4.1         Bank Of America
            _________________________________                            Last 4 digits of account number ____ ____ ____ ____                                                     6,021.00
                                                                                                                                                                               $___________
            Creditor's Name
            PO BOX 982238
            _________________________________                            When was the debt incurred?                  2008-2021
                                                                                                                     ______________
             Number                 Street

            _________________________________                            As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
            EL PASO                TX 79998
            _________________________________                               Unliquidated
             City                               State   Zip Code
        Who owes the debt? Check one.                                       Disputed

              Debtor 1 only
              Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                    Student loans.
              At least one of the debtors and another                       Obligations arising out of a separation agreement or divorce

             Check if this claim relates to a                               that you did not report as priority claims
             community debt                                                 Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offest?
              No                                                                             Credit Card Or Credit Use
                                                                            Other. Specify ______________________________________
              Yes




Official Form 106E/F                         Record #    860190                        Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 1 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                           Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 21 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                      Middle Name                    Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.2        Best Buy/Cbna
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               679.00
                                                                                                                                                                                  $___________
           Creditor's Name
           50 NORTHWEST POINT ROAD
           _________________________________                      When was the debt incurred?                   2011-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           ELK GROVE VILLAGE      IL  60007
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.3        Bloom/Dsnb
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               10,647.00
                                                                                                                                                                                  $___________
           Creditor's Name
           9111 DUKE BLVD
           _________________________________                      When was the debt incurred?                   2012-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           MASON                  OH 45040
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.4        Capital One Bank Usa N
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               1,317.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 31293
           _________________________________                      When was the debt incurred?                   2005-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           SALT LAKE CITY         UT 84131
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                           Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 22 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                      Middle Name                    Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.5        Citicards Cbna
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               3,382.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 6241
           _________________________________                      When was the debt incurred?                   2015-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           SIOUX FALLS            SD 57117
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.6        Citicards Cbna
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               4,297.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 6241
           _________________________________                      When was the debt incurred?                   2015-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           SIOUX FALLS            SD 57117
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.7        Citicards Cbna
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               6,143.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 6241
           _________________________________                      When was the debt incurred?                   2018-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           SIOUX FALLS            SD 57117
           _________________________________                          Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                                  Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                           that you did not report as priority claims
           community debt                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                           Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 23 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.8        Comenity Bank/Torrid
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               363.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 182789
           _________________________________                      When was the debt incurred?                   2020-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           COLUMBUS               OH 43218
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.9        Equifax
           _________________________________                                                           9121____ ____
                                                                  Last 4 digits of account number ____ ____                                                                         0.00
                                                                                                                                                                                  $___________
           Creditor's Name
           Po Box 740241
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Atlanta                Ga 30374
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Notice Only
                                                                      Other. Specify ______________________________________
            Yes

 4.10       Experian
           _________________________________                                                           9121____ ____
                                                                  Last 4 digits of account number ____ ____                                                                         0.00
                                                                                                                                                                                  $___________
           Creditor's Name
           Po Box 2002
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Allen                  Tx 75013
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Notice Only
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                           Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 24 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.11       Jpmcb Card
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               5,723.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 15369
           _________________________________                      When was the debt incurred?                   2007-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           WILMINGTON             DE 19850
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.12       Macys/Dsnb
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               9,818.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 8218
           _________________________________                      When was the debt incurred?                   2005-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           MASON                  OH 45040
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.13       Moore college of Art
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               7,576.00
                                                                                                                                                                                  $___________
           Creditor's Name
           30 Regency Plaza
           _________________________________                      When was the debt incurred?                   1999
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Glen Mills             PA 19342
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Debt Owed
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                           Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 25 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.14       Nordstrom/Td Bank Usa
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               4,768.00
                                                                                                                                                                                  $___________
           Creditor's Name
           13531 E CALEY AVE
           _________________________________                      When was the debt incurred?                   2005-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           ENGLEWOOD              CO 80111
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.15       Syncb/Care Credit
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               10,050.00
                                                                                                                                                                                  $___________
           Creditor's Name
           950 FORRER BLVD
           _________________________________                      When was the debt incurred?                   2014-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           KETTERING              OH 45420
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.16       Syncb/Jc Penney Dc
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               7,966.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 965007
           _________________________________                      When was the debt incurred?                   2016-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           ORLANDO                FL 32896
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                           Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 26 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.17       Syncb/Tjx Cos Dc
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               4,601.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 965015
           _________________________________                      When was the debt incurred?                   2015-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           ORLANDO                FL 32896
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.18       Syncb/Walmart
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               0.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 965024
           _________________________________                      When was the debt incurred?                   2017-2019
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           ORLANDO                FL 32896
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.19       Td Bank Usa/Targetcred
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               2,051.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 673
           _________________________________                      When was the debt incurred?                   2015-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           MINNEAPOLIS            MN 55440
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 9
                           Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                            Desc Main
              Christina                 Marie
                                                                         Document
                                                                           Franzoso
                                                                                      Page 27 of 62
Debtor 1      __________________________________________________________________                                          Case Number (if known) ______________________________
              First Name                       Middle Name                   Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                            Total Claim


 4.20       Transunion
           _________________________________                                                           9121____ ____
                                                                  Last 4 digits of account number ____ ____                                                                         0.00
                                                                                                                                                                                  $___________
           Creditor's Name
           Po Box 1000
           _________________________________                      When was the debt incurred?                  ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           Chester                Pa 19022
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Notice Only
                                                                      Other. Specify ______________________________________
            Yes

 4.21       Us Bank
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               1,723.00
                                                                                                                                                                                  $___________
           Creditor's Name
           4325 17TH AVE S
           _________________________________                      When was the debt incurred?                   2017-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           FARGO                  ND 58125
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

 4.22       Wf/Dillard
           _________________________________                      Last 4 digits of account number ____ ____ ____ ____                                                               1,334.00
                                                                                                                                                                                  $___________
           Creditor's Name
           PO BOX 14517
           _________________________________                      When was the debt incurred?                   2006-2021
                                                                                                               ______________
           Number            Street

           _________________________________                      As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
           DES MOINES             IA  50306
           _________________________________                          Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                                 Disputed

            Debtor 1 only
            Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                Student loans.
            At least one of the debtors and another                   Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                          that you did not report as priority claims
            community debt                                            Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                         Credit Card Or Credit Use
                                                                      Other. Specify ______________________________________
            Yes

   Part 3:          List Others to Be Notified for a Debt That You Already Listed



 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.



Official Form 106E/F                  Record #        860190                     Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 9
                          Case 21-06553                      Doc 1     Filed 05/20/21 Entered 05/20/21 11:00:32                                 Desc Main
             Christina                 Marie
                                                                        Document
                                                                          Franzoso
                                                                                     Page 28 of 62
Debtor 1     __________________________________________________________________                                Case Number (if known) ______________________________
             First Name                        Middle Name                 Last Name

                   Add the Amounts for Each Type of Unsecured Claim
   Part 4:


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.



                                                                                                              Total claim

  Total claims            6a. Domestic support obligations                                          6a.     $______________________0.00
  from Part 1
                          6b. Taxes and Certain other debts you owe the                             6b.     $______________________0.00
                              government


                          6c. Claims for death or personal injury while you were                    6c.     $______________________0.00
                              intoxicated


                          6d. Other. Add all other priority unsecured claims.                       6d.     $______________________0.00
                              Write that amount here.




                          6e. Total. Add lines 6a through 6d.                                       6e.     $______________________0.00




                                                                                                              Total claim

  Total claims            6f. Student loans                                                         6f.     $______________________0.00
  from Part 2
                          6g. Obligations arising out of a separation agreement                     6g.     $______________________0.00
                              or divorce that you did not report as priority
                              claims


                          6h. Debts to pension or profit-sharing plans, and other                   6h.     $______________________0.00
                              similar debts


                          6i. Other. Add all other nonpriority unsecured claims.                    6i.                       88,459.00
                                                                                                            $______________________
                              Write that amount here.




                          6j. Total. Add lines 6f through 6i.                                       6j.                       88,459.00
                                                                                                            $______________________




Official Form 106E/F                   Record #      860190                     Schedule E/F: Creditors Who Have Unsecured Claims                               Page 9 of 9
                            Case 21-06553                 Doc 1             Filed 05/20/21 Entered 05/20/21 11:00:32                                Desc Main
   Fill in this information to identify your case:                           Document     Page 29 of 62
   Debtor 1              Christina                 Marie                     Franzoso
                         __________________________________________________________________
                         First Name                  Middle Name                      Last Name


   Debtor 2              __________________________________________________________________
   (Spouse, if filing)   First Name                  Middle Name                      Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                      (State)
   Case Number ______________________________________________                                                                                                Check if this is an
       (If known)                                                                                                                                            amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).
 1. Do you have any executory contracts or unexpired leases?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

            Yes. Fill in all of the information below even if the contracts or leases are listed in Schedule A/B: Property (Official Form 106A/B)


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.


        Person or company with whom you have the contract or lease                                                 State what the contract or lease is for


 2.1
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.2
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.3
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code



 2.4
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.5
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code




Official Form 106G                       Record #   860190                     Schedule G. Executory Contracts and Unexpired Leases                                           Page 1 of 1
                          Case 21-06553                       Doc 1                 Filed 05/20/21 Entered 05/20/21 11:00:32                             Desc Main
                                                                                     Document     Page 30 of 62
   Fill in this information to identify your case:


   Debtor 1               Christina                 Marie                     Franzoso
                          __________________________________________________________________
                          First Name                         Middle Name                   Last Name


   Debtor 2               __________________________________________________________________
   (Spouse, if filing)    First Name                         Middle Name                   Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                           (State)
   Case Number ______________________________________________                                                                                                  Check if this is an
    (If known)                                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy
the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of
any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

           No.

           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Lousiiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.

           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. Inwhich community state or territory did you live? __________________. Fill in the name and current address of that person.

                   _______________________________________________________________
                   Name of your spouse, former spouse or legal equivalent
                   _______________________________________________________________
                   Number          Street
                   _______________________________________________________________
                   City                                                       State                     Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                                       Check all schedules that apply:

 3.1                                                                                                                       Schedule D, line __________
          _______________________________________________________________
          Name
                                                                                                                           Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                           Schedule G, line __________
          _______________________________________________________________
           City                                                             State                      Zip Code

 3.2      _______________________________________________________________                                                  Schedule D, line __________
          Name
                                                                                                                           Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                           Schedule G, line __________
          _______________________________________________________________
           City                                                             State                      Zip Code

 3.3      _______________________________________________________________                                                  Schedule D, line __________
          Name
                                                                                                                           Schedule E/F, line __________
          _______________________________________________________________
           Number                Street
                                                                                                                           Schedule G, line __________
          _______________________________________________________________
           City                                                             State                      Zip Code




Official Form 106H                          Record #      860190                          Schedule H: Your Codebtors                                                     Page 1 of 1
                              Case 21-06553                      Doc 1       Filed 05/20/21 Entered 05/20/21 11:00:32                             Desc Main
                                                                              Document     Page 31 of 62
      Fill in this information to identify your case:


      Debtor 1                Christina                 Marie                     Franzoso
                              __________________________________________________________________
                              First Name                       Middle Name            Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                       Middle Name            Last Name


      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __

      Case Number ______________________________________________                                                    Check if this is:
       (If known)
                                                                                                                          An amended filing
                                                                                                                          A supplement showing post-petition
                                                                                                                          chapter 13 income as of the following date:
                                                                                                                          _______________
Official Form 106I                                                                                                        MM / DD / YYYY


Schedule I: Your Income
                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:                   Describe Employment



1.        Fill in your employment                                                            Debtor 1                                    Debtor 2 or non-filing spouse
          information

          If you have more than one job,
          attach a separate page with                                                             Employed                               Employed
          information about additional                    Employment status
          employers.                                                                          X Not employed                             Not employed


          Include part-time, seasonal, or
          self-employed work.
                                                          Occupation                     Unemployed
          Occupation may Include student
          or homemaker, if it applies.
                                                          Employers name

                                                          Employers address




                                                          How long employed there?



  Part 2:                   Give Details About Monthly Income


          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
          lines below. If you need more space, attach a separate sheet to this form.



                                                                                                               For Debtor 1             For Debtor 2 or
                                                                                                                                        non-filing spouse

 2.        List monthly gross wages, salary and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.                                   $0.00                         $0.00


 3.        Estimate and list monthly overtime pay.
                                                                                                                         $0.00                         $0.00

 4.        Calculate gross income. Add line 2 + line 3.
                                                                                                                 $0.00                         $0.00




Official Form 106I                         Record #   860190                   Schedule I: Your Income                                                             Page 1 of 2
                     Case 21-06553                               Doc 1                Filed 05/20/21 Entered 05/20/21 11:00:32                               Desc Main
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Debtor 1     Christina                 Marie                     Franzoso
             __________________________________________________________________                                                Case Number (if known) ______________________________
             First Name                               Middle Name                               Last Name



                                                                                                                            For Debtor 1          For Debtor 2 or
                                                                                                                                                  non-filing spouse

      Copy line 4 here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4.     $0.00                       $0.00
5. List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                               5a.             $0.00                      $0.00
      5b. Mandatory contributions for retirement plans                                                                5b.             $0.00                      $0.00
      5c. Voluntary contributions for retirement plans                                                                5c.             $0.00                      $0.00
      5d. Required repayments of retirement fund loans                                                                5d.             $0.00                      $0.00
      5e. Insurance                                                                                                   5e.             $0.00                      $0.00
      5f. Domestic support obligations                                                                                5f.             $0.00                      $0.00
      5g. Union dues                                                                                                  5g.             $0.00                      $0.00
      5h. Other deductions. Specify: ______________________________                                                   5h.             $0.00                      $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                          6.             $0.00                      $0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.     $0.00                      $0.00
8. List all other income regularly received:
      8a.     Net income from rental property and from operating a business,

              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total

              monthly net income.                                                                                     8a.           $0.00                       $0.00
      8b.     Interest and dividends                                                                                  8b.           $0.00                       $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                             8c.          $ 0.00                     $ 0.00
              dependent regularly receive
              Include alimony, spousal support, child support, maintenance, divorce

              settlement, and property settlement.
      8d.     Unemployment compensation                                                                               8d.      $2,736.00                        $0.00
      8e.     Social Security                                                                                         8e.          $0.00                        $0.00
      8f.     Other government assistance that you regularly receive                                                  8f.           $0.00                       $0.00
              Include cash assistance and the value (if known) of any non-cash

              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: ____________________________________________
      8g.     Pension or retirement income                                                                            8g.           $0.00                       $0.00
      8h.     Other monthly income. Specify: __________________________                                               8h.           $0.00                       $0.00
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.      $2,736.00                        $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                  10.                     +                          =
                                                                                                                            $2,736.00                   $0.00                    $2,736.00
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.


11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives .
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                           11.           $0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                       12.     $2,736.00
13.   Do you expect an increase or decrease within the year after you file this form?

           X No.
             Yes. Explain:




Official Form 106I              Record #          860190                                    Schedule I: Your Income                                                            Page 2 of 2
                                 Case 21-06553                   Doc 1           Filed 05/20/21 Entered 05/20/21 11:00:32                                  Desc Main
                                                                                  Document     Page 33 of 62
   Fill in this information to identify your case:


      Debtor 1                Christina                 Marie                     Franzoso
                              __________________________________________________________________                             Check if this is:
                              First Name                   Middle Name                        Last Name
                                                                                                                                    An amended filing
      Debtor 2                __________________________________________________________________                                    A supplement showing post-petition chapter 13
      (Spouse, if filing)     First Name                   Middle Name                        Last Name
                                                                                                                                    income as of the following date:
      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __                                                  _______________
                                                                                                                                    MM / DD / YYYY
      Case Number ______________________________________________
      (If known)

                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
Official Form 106J                                                                                                                  maintains a separate household.

Schedule J: Your Expenses                                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

  Part 1:                   Describe Your Household

 1. Is this a joint case?
           X No. Go to line 2.

                 Yes. Does Debtor 2 live in a separate household?

                                   No.
                                   Yes. Debtor 2 must file a separate Schedule J.


 2.        Do you have dependents?                           X     No                                             Dependent's relationship to      Dependent's     Does dependent live
                                                                                                                  Debtor 1 or Debtor 2             age             with you?
           Do not list Debtor 1 and                                Yes. Fill out this information for
           Debtor 2.                                               each dependent..............................                                                      X No

           Do not state the dependents'                                                                                                                                 Yes
           names.
                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

                                                                                                                                                                     X No

                                                                                                                                                                        Yes

 3.        Do your expenses include                                X     No
           expenses of people other than
           yourself and your dependents?                                 Yes


  Part 2:                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
 the applicable date.
 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                                        Your expenses


 4.         The rental or home ownership expenses for your residence. Include first mortgage payments and
            any rent for the ground or lot.                                                                                                                4.                     $1,040.00
            If not included in line 4:

            4a.       Real estate taxes                                                                                                                   4a.                             $0.00

            4b.       Property, homeowner's, or renter's insurance                                                                                        4b.                             $0.00

            4c.       Home maintenance, repair, and upkeep expenses                                                                                       4c.                            $50.00
            4d.       Homeowner's association or condominium dues                                                                                         4d.                       $416.00


Official Form 106J                           Record #      860190                     Schedule J: Your Expenses                                                             Page 1 of 3
                          Case 21-06553                  Doc 1      Filed 05/20/21 Entered 05/20/21 11:00:32                            Desc Main
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Debtor 1     Christina                 Marie                     Franzoso
             __________________________________________________________________                        Case Number (if known) ______________________________
             First Name                    Middle Name                  Last Name



                                                                                                                                            Your expenses


 5.    Additional Mortgage payments for your residence, such as home equity loans                                                      5.                       $41.67

 6.    Utilities:
       6a.     Electricity, heat, natural gas                                                                                         6a.                        $30.00

       6b.     Water, sewer, garbage collection                                                                                       6b.                         $0.00

       6c.     Telephone, cell phone, internet, satellite, and cable service                                                          6c.                       $140.00

       6d.     Other. Specify:____________________________________                                                                    6d.        $                    0.00

 7.    Food and housekeeping supplies                                                                                                  7.                       $350.00

 8.    Childcare and children’s education costs                                                                                        8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                                             9.                       $125.00

 10.   Personal care products and services                                                                                            10.                        $75.00

 11.   Medical and dental expenses                                                                                                    11.                       $200.00

 12.   Transportation. Include gas, maintenance, bus or train fare.                                                                   12.                       $120.00
       Do not include car payments.

 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                             13.                        $50.00

 14.   Charitable contributions and religious donations                                                                               14.                         $0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                                           15a.                         $0.00

       15b. Health insurance                                                                                                         15b.                         $0.00

       15c. Vehicle insurance                                                                                                        15c.                         $0.00

       15d. Other insurance. Specify:_______________________________________                                                         15d.                         $0.00

 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

       Specify: ________________________________________________________                                                              16.                         $0.00

 17.   Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                               17a.                         $0.00

       17b. Car payments for Vehicle 2                                                                                               17b.                         $0.00

       17c. Other. Specify:_______________________________________________                                                           17c.                         $0.00

       17d. Other. Specify:__________________________________________________________________                                        17d.                         $0.00

 18.   Your payments of alimony, maintenance, and support that you did not report as deducted

       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                         18.                         $0.00
 19.   Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                                                19.                         $0.00

 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                              20a.                         $ 0.00
       20b. Real estate taxes                                                                                                        20b.        $                    0.00

       20c. Property, homeowner’s, or renter’s insurance                                                                             20c.        $                    0.00

       20d. Maintenance, repair, and upkeep expenses                                                                                 20d.        $                    0.00

       20e. Homeowner’s association or condominium dues                                                                              20e.        $                    0.00




Official Form 106J                  Record #       860190              Schedule J: Your Expenses                                                        Page 2 of 3
                             Case 21-06553                    Doc 1    Filed 05/20/21 Entered 05/20/21 11:00:32                               Desc Main
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Debtor 1       Christina                 Marie                     Franzoso
               __________________________________________________________________                            Case Number (if known) ______________________________
               First Name                       Middle Name                  Last Name



 21.                     Pet Care ($50.00),
       Other. Specify: ________________________________________________________                                                             21.                        $50.00
 22.. Your monthly expense: Add lines 4 through 21.                                                                                         22.                      $2,687.67
       The result is your monthly expenses.




 23.   Calculate your monthly net income.

       23a.                 Copy line 12 (your comibined monthly income) from Schedule I.                                                  23a.                      $2,736.00

       23b.                 Copy your monthly expenses from line 22 above.                                                                 23b.   -                  $2,687.67

       23c.                 Subtract your monthly expenses from your monthly income.                                                       23c.             $48.33
                            The result is your monthly net income.




 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
           X    No
                Yes.            Explain Here:




Official Form 106J                       Record #       860190            Schedule J: Your Expenses                                                           Page 3 of 3
                          Case 21-06553                Doc 1             Filed 05/20/21 Entered 05/20/21 11:00:32                                 Desc Main
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   Fill in this information to identify your case:


    Debtor 1                Christina                 Marie                     Franzoso
                            __________________________________________________________________
                            First Name                     Middle Name                  Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                     Middle Name                  Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                  (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                        Check if this is an
                                                                                                                                                      amended filing




Official Form 106 Dec
Declaration About an Individual Debtor's Schedules                                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below




   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No

             Yes. Name of Person _____________________________________________.                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and
   correct.




  û       /s/ Christina Marie Franzoso
         ________________________________________
         Signature of Debtor 1
                                                                                 û     ______________________________________
                                                                                       Signature of Debtor 2


               05/20/2021
         Date _________________                                                        Date _________________
              MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 106Dec                     Record # 860190        Declaration About an Individual Debtor's Schedules                                                     page 1
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                                                                          Document     Page 37 of 62
   Fill in this information to identify your case:


   Debtor 1                Christina                 Marie                     Franzoso
                           __________________________________________________________________
                           First Name                     Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                     Middle Name                  Last Name


   United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                       (State)
   Case Number ______________________________________________
    (If known)                                                                                                                                      Check if this is an
                                                                                                                                                    amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


   Part 1:               Give Details About Your Marital Status and Where You Lived Before

 01. What is your current marital status?


           Married
            Not married


 02 During the last 3 years, have you lived anywhere other than where you live now?

            No.
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


              Debtor 1                                                           Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                                                 lived there                                                           lived there
 03 Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
     property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington,
     and Wisconsin.)
            No.
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2:               Explain the Sources of Your Income




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                  Case 21-06553                  Doc 1      Filed 05/20/21 Entered 05/20/21 11:00:32                                         Desc Main
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Debtor 1     Christina                 Marie                     Franzoso
             __________________________________________________________________                             Case Number (if known) ______________________________
             First Name                   Middle Name                Last Name


 04   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income           Gross income
                                                         Check all that apply       (before deductions and         Check all that apply        (before deductions and
                                                                                    exclusions)                                                exclusions)

           From January 1 of current year until             Wages, commissions,       $0
                                                                                    ___________________               Wages, commissions,      ___________________
                                                            bonuses, tips                                             bonuses, tips
           the date you filed for bankruptcy:
                                                            Operating a business                                      Operating a business




           For last calendar year:                          Wages, commissions,       $86,382
                                                                                    ___________________               Wages, commissions,      ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2020)
                                                            Operating a business                                      Operating a business




           For the calendar year before that:               Wages, commissions,       $78,569
                                                                                    ___________________               Wages, commissions,      ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2019)
                                                            Operating a business                                      Operating a business




 05 Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income           Gross income
                                                         Describe below.            (before deductions and         Describe below.             (before deductions and
                                                                                    exclusions)                                                exclusions)

           From January 1 of current year until          Unemployment
                                                         __________________           $12,312
                                                                                    ___________________           __________________           ___________________

           the date you filed for bankruptcy:            __________________                                       __________________




   Part 3:       List Certain Payments You Made Before You Filed for Bankruptcy




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Debtor 1     Christina                 Marie                     Franzoso
             __________________________________________________________________                                    Case Number (if known) ______________________________
              First Name                        Middle Name                 Last Name


 06   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?


             No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  “incurred by an individual primarily for a personal, family, or household purpose.”
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?


                           No. Go to line 7.


                           Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


             Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                           No. Go to line 7.


                           Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.



                                                                          Dates of          Total amount paid              Amount you still owe     Was this payment for...
                                                                          payments


 07   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No.
           Yes. List all payments to an insider.
                                                                          Dates of          Total amount           Amount you still          Reason for this payment
                                                                          payment           paid                   owe


 08   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No.
           Yes. List all payments to an insider.
                                                                          Dates of          Total amount           Amount you still          Reason for this payment
                                                                          payment           paid                   owe                       Include creditor's name

   Part 4:        Identify Legal actions, Repossessions, and Foreclosures

 09   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No.
           Yes. Fill in the details.
                                                                    Nature of the case                  Court or agency                                 Status of the case
 10   Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11
           Yes. Fill in the information below.




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Debtor 1        Christina                 Marie                     Franzoso
                __________________________________________________________________                            Case Number (if known) ______________________________
                First Name                    Middle Name              Last Name


 11     Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts
        or refuse to make a payment because you owed a debt?

            No. Go to line 11
            Yes. Fill in the information below.
 12 Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
       court-appointed receiver, a custodian, or another official?
           No.
           Yes.


   Part 5:          List Certain Gifts and Contributions

 13     Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

            No.
            Yes. Fill in the details for each gift.
 14     Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

            No.
            Yes. Fill in the details for each gift.


   Part 6:          List Certain Losses


 15     Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
        gambling?

            No.
            Yes. Fill in the details for each gift.


      Part 7:       List Certain Payments or Transfers


 16     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No.
            Yes. Fill in the details

            Party Contact Info                                   Description and value of any property transferred               Date payment     Amount of payment
                                                                                                                                 or transfer

                _________________________________
                 Geraci Law L.L.C.                                                                                              From              $1,400.00
                                                                                                                                                  ___________________
                                                                                                                                05/19/2021 -
                _________________________________
                 55 E. Monroe Street #3400
                                                                                                                                05/20/2021
                _________________________________
                 Chicago,IL 60603
                _________________________________
            Party Contact Info                                   Description and value of any property transferred               Date payment     Amount of payment
                                                                                                                                 or transfer
                                                                Credit Counseling Services                                      2021              $25.00
                _________________________________
                 Hananwill Credit Counseling                                                                                                      ___________________
                _________________________________
                 115 N. Cross St.
                _________________________________
                 Robinson, IL 62454
                _________________________________

 17     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

            No.
            Yes. Fill in the details.




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Debtor 1        Christina                 Marie                     Franzoso
                __________________________________________________________________                                   Case Number (if known) ______________________________
                First Name                    Middle Name                   Last Name


 18     Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.

            No.
            Yes. Fill in the details for each gift.

 19     Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)

            No.
            Yes. Fill in the details for each gift.


   Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


 20     Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.

            No.
            Yes. Fill in the details.
                                                            Last 4 digits of account number     Type of account or          Date account was       Last balance before
                                                                                                instrument                  closed, sold, moved,   closing or transfer
                                                                                                                            or transferred



 21     Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

            No.
            Yes. Fill in the details.
                                                            Who else had access to it?                Describe the contents                        Do you still
                                                                                                                                                   have it?
 22     Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No.
            Yes. Fill in the details.
                                                            Who else has or had access to it?         Describe the contents                        Do you still
                                                                                                                                                   have it?

      Part 9:       Identify Property You Hold or Control for Someone Else

 23     Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

            No.
            Yes. Fill in the details.
                                                            Where is the property?                    Describe the property                        Value



   Part 10:         Give Details About Environmental Information


 For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
       it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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Debtor 1      Christina                 Marie                     Franzoso
              __________________________________________________________________                                    Case Number (if known) ______________________________
                First Name                   Middle Name                      Last Name


 24    Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No.
            Yes. Fill in the details.
                                                            Governmental unit                           Environmental law, if you know it        Date of notice


 25    Have you notified any governmental unit of any release of hazardous material?

            No.
            Yes. Fill in the details.
                                                            Governmental unit                           Environmental law, if you know it        Date of notice


 26    Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Fill in the details.
                                                            Court or agency                             Nature of the case                       Status of the case



   Part 11:         Give Details About Your Business or Connections to Any Business


 27    Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation


            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.


 28    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

            No.
            Yes. Fill in the details.
                                                           Date issued

  Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      û     /s/ Christina Marie Franzoso
            ________________________________________
            Signature of Debtor 1
                                                                                   û      ______________________________________
                                                                                          Signature of Debtor 2


                  05/20/2021
            Date _________________                                                        Date _________________
                  MM / DD / YYYY                                                                MM / DD / YYYY


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No

           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No

           Yes. Name of person ___________________________________________________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).



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   Fill in this information to identify your case:                           Document     Page 43 of 62
    Debtor 1               Christina                 Marie                     Franzoso
                           __________________________________________________________________
                           First Name                     Middle Name                 Last Name


    Debtor 2               __________________________________________________________________
    (Spouse, if filing)    First Name                     Middle Name                 Last Name



    United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                      (State)
    Case Number ______________________________________________                                                                                        Check if this is an
    (If known)                                                                                                                                        amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:
n creditors have claims secured by your property, or
n you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

   Part 1:                List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
    information below.

   Identify the creditor and the property that is collateral                             What do you intend to do with the property that       Did you claim the property
                                                                                         secures a debt?                                       as exempt on Schedule C?


   Creditor's                                                                                     Surrender the property                            No
   name:                            Us Bank Home Mortgage                                         Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
   Description of                   260 E Chestnut Chicago IL 60611 - Primary
   property                         Residence                                                     Reaffirmation Agreement.
   securing debt:                                                                                 Retain the property and [explain]: _______
                                                                                                  ____________________________________

   Creditor's                                                                                     Surrender the property                            No
   name:                                                                                          Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
   Description of
   property                                                                                       Reaffirmation Agreement.
   securing debt:                                                                                 Retain the property and [explain]: _______
                                                                                                  ____________________________________

   Creditor's                                                                                     Surrender the property                            No
   name:                                                                                          Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
   Description of
   property                                                                                       Reaffirmation Agreement.
   securing debt:                                                                                 Retain the property and [explain]: _______
                                                                                                  ____________________________________

   Creditor's                                                                                     Surrender the property                            No
   name:                                                                                          Retain the property and redeem it                 Yes
                                                                                                  Retain the property and enter into a
    Description of
    property                                                                                      Reaffirmation Agreement.
    securing debt:                                                                                Retain the property and [explain]: _______
                                                                                                  ____________________________________


Official Form 108                       Record # 860190        Statement of Intention for Individuals Filing Under Chapter 7                                           Page 1 of 2
                          Case 21-06553                 Doc 1        Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                      Document                62Number (if known) ______________________________
                                                                                   Page 44 ofCase
             First Name                   Middle Name                    Last Name



   Part 2:         List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



     Describe your unexpired personal property leases                                                                                            Will the lease be assumed?

    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


  Part 3:         Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.




û    /s/ Christina Marie Franzoso
     ________________________________________
     Signature of Debtor 1
                                                                       û     ________________________________________
                                                                             Signature of Debtor 2

           05/20/2021
     Date _________________                                                  Date _________________
          MM / DD / YYYY                                                          MM / DD / YYYY

Official Form 108               Record # 860190         Statement of Intention for Individuals Filing Under Chapter 7                                                   Page 2 of 2
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B2030 (Form 2030) (12/15)

                                                  United States Bankruptcy Court
                                           NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

Christina Marie Franzoso / Debtor                                                                     Case No:

                                                                                                      Chapter:     Chapter 7

                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept                    $1,400.00
        Prior to the filing of this statement I have received          $1,400.00
        Balance Due                                                         $0.00




2.      The source of the compensation paid to me was:
              Debtor(s)               Other: (specify)
3.      The source of compensation to be paid to me is:

               Debtor(s)              Other: (specify)
4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
            of my law firm.

            I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
            of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;
     b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
     Fee does NOT include any work done post-filing.


                                                                CERTIFICATION
                       I certify that the foregoing is a complete statement of any agreement or arrangement for
                    payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                       Date: 05/20/2021
                       ____________________________               /s/ Jonathan Daniel Parker
                                                                  ____________________________
                       Date                                       Signature of Attorney

                                                                  ________________________________________
                                                                   Geraci Law L.L.C.
                                                                  Name of law firm




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                                  Date: 5/19/2021 Record#: 860190 Consultation Attorney: Jonathan Parker
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                            Retainer Agreement Chapter 7 - Pre-filing. All services, and fees for work before filing.

I retain Geraci Law L.L.C. to represent me in a Chapter 7 Bankruptcy until first case closing on the terms below.               We
will start preparing your documents as soon as you sign this contract. Work before signing is no charge. The flat fee for work
before filing pays for all work necessary to file this bankruptcy petition in court, excludes appearance in non-bankruptcy court or
proceeding; taking calls from your creditors or collectors. If we do not collect that amount before filing your case, you have no
obligation to pay and we will write off any such amount. I have been offered both Chapter 7 and 13 and a Sec. 527 sheet.

Total estimated flat fee is:       $2,200.00 plus $338.00 Court Cost = $2,538.00 by Debit only, no cash/checks.
                                                 INITIAL NEXT TO THE OPTION YOU CHOOSE:
x______       x______ Option 1: Pay entire attorney fee plus Court Cost. $2,200.00 plus $338.00 Court Cost = $2,538.00.
x_______      x______ Option 2: Pay only attorney fee for work before filing. Minimum $1,400.00 plus $338.00 Court Cost
before filing = 1,738.00.
If a Court allows filing your petition, without paying Court Cost $338.00 first, you may select option 3, Advance Court
Cost, but if your Court changes its policy you agree to pay the $338.00 in advance of filing, in addition to any attorney
fees. Note: $338.00 Court Cost may be increased soon. You agree to pay any increase, so do not delay.

x______       x______ Option 3: Where available if Court allows filing before paying Court Cost: Advance Court Cost
Pay only attorney fee for work before filing, $1,400.00, and Geraci Law will advance the $338.00 Court Cost.
Work After filing I agree that the attorney fee for work after filing is separate:
x______       x______ estimated fee:        $800.00 plus repayment of Court Cost of $338.00 if Option 3 permitted.


A. Payment Method:            I will make payments by Debit $700 today, $100.00 EVERY OTHER THURSDAY starting
  05/27/2021. I will provide all documents and pay at least my pre-filing flat fee in full within 60 days of today. After filing in
  court, any balance on the pre-filing fee is discharged. I can prepay for post-filing work.

B. Payments before filing are applied first to estimated pre-filing Attorney fee, then to estimated post-filing fee, then to
   the $338.00 Court Cost that must be paid after case filing, unless Option 3 is permitted, and Option 1 is not.

C. AFTER we file your Chapter 7 bankruptcy in Court, you owe us nothing unless you choose to reimburse us for any
  Court Costs, and pay any of the Post-Filing Fee for services we estimated that you didn't pay before filing.
  Payment by you for any post-filing services is entirely voluntary. You can pre-pay for post-filing services before we
  file your case in court, if you desire. Even if you refuse or are unable to pay us for post-filing services, we will perform all
  flat fee non-excluded services through discharge. We will not withdraw for non-payment of flat fee services such as
  appearing at the first meeting of creditors and reaffirmations. We will represent you unless we ask the Court for leave to
  withdraw as your attorney or unless local rules do not require us to represent you, such as in an adversary proceedings.

D. Separate agreement for post-filing services and Court Cost $338.00 advance. A separate agreement may be required
  in order to create any obligation to pay us for services and costs after filing, or for Additional Fees. The Bankruptcy Code
  allows you to pay us voluntarily after filing, but we prefer a written agreement so there are no misunderstandings.

E. Post-filing Services Excluded from Flat Fee are: missed section 341 meetings; amendments; motions including to
  reopen, avoid judgment liens, dismiss, for enlargement of time; contested matters such as objections to exemptions; audits;
  attending rule 2004 examinations; adversary proceedings and representation during Trustee asset administration, if any. We
  will advise if additional fees are required and you can choose to pay us, hire other attorneys, or handle those yourself.



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                                 Date: 5/19/2021 Record#: 860190 Consultation Attorney: Jonathan Parker
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                           Retainer Agreement Chapter 7 - Pre-filing. All services, and fees for work before filing.

F.     Flat Fee rather than hourly. You may choose to pay for our services billed at hourly rates of $85 - $450/hour, and pay in
      advance a security retainer, which may cost you more, or less than a flat fee. Flat fees are usually cheaper.

G.      Advance Payment Retainer. Payments on flat fee or hourly become our property on payment and are deposited into our
      operating account, not into a client trust account. We will refund unearned fees. You may enter into a security retainer
      agreement with another law firm: we will not because we have found flat fees avoid surprises and a bill you did not expect.

H.      Pre-filing Termination. If you decide not to proceed, delay, fail to respond, pay fees, or provide all information & sign your
      petition, you agree that Geraci Law may discontinue work and charge me for the work done to date at hourly rates shown
      above. We will only refund unearned fees. Wisconsin: We will submit any unresolved dispute about the fee to binding
      arbitration within 30 days of receiving written notice of the dispute. You may file a claim with the Wisconsin Lawyers' Fund
      for Client Protection, State Bar of Wisconsin, P.O. Box 7158, Madison, WI 53707 if we fail to provide a refund of unearned
      advanced fees. If you dispute the amount and want that dispute to be submitted to binding arbitration, you must provide
      written notice of the dispute to Geraci Law within 30 days of the mailing of the accounting. If we are unable to resolve the
      dispute to the satisfaction of you within 30 days after notice of the dispute, we shall submit the dispute to binding arbitration.

 I.     You agree to: fully cooperate, provide all information required, use Client Corner, not cause excessive work, and that more
      than one attorney or staff will work on your file. There is no extra charge for the entire Geraci Law Team, unlike single
     attorney “law firms”. This flat fee is based on the facts you told us. If that changes, your fee may change.

J.      Exemption laws only protect a limited amount of property. File Chapter 13 to protect property not claimed as exempt, or
      risk turn over “non-exempt” property to a Trustee. No guarantee of Discharge: Creditors or others may object to a Chapter
      7 discharge of certain debts or to any discharge, for a variety of reasons. Debts not discharged: student loans; educational
      debts and tuition; most tax debts; undisclosed debts; maintenance or support; fines; fraud, stealing or intentional injury
      claims, debts after filing including HOA dues; other debts not discharged (see Client Corner, Bankruptcy Book, or info
      folder). Creditors may charge you additional fees due to filing, such as for reaffirmations like vehicle & mortage loans.

K. No discharge if I don’t take the 2nd educational course after case filing and before my creditors' meeting to be safe.

L. I will not transfer or acquire any property or incur any credit or debt before filing, and I must make full disclosure of all
   income, expenses, debts and assets on my bankruptcy petition as of the date I sign it. I will not transfer or dispose of any
   interest in property, or tax refunds, life insurance, inheritances, or lottery winnings from pre-filing tickets, without disclosing it
   by filing an amended schedule and having the Chapter 7 Trustee's "no asset report" following that amendment.

M.      I have been told to value all property interests at Market Value Cost of Replacement, and to disclose all interests in any
      property, money, claims or sources of income.

           I AGREE TO READ EVERY PAGE AND EVERY LINE OF MY PETITION BEFORE I SIGN IT AND TO MAKE SURE THAT IT
               IS COMPLETE AND CORRECT INCLUDING VALUE AND EXTENT OF ALL PROPERTY INTERESTS AND INCOME.




      05 19 21
Date: ____/____/________       X__________________________________________
                                Christina Franzoso (Debtor)


X ___________________________________________ Attorney Jonathan Parker, Geraci Law L.L.C.


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                                   UNITED STATES BANKRUPTCY COURT
In re
                              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Christina Marie Franzoso / Debtor                                                                       Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




05/20/2021                                /s/ Christina Marie Franzoso                                                   X Date & Sign
                                                        Christina Marie Franzoso




           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
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           Notice Required by 11 U.S.C. § 342(b) for
           Individuals Filing for Bankruptcy (Form 2010)


           This notice is for you if:                                                Chapter 7: Liquidation

                You are an individual filing for bankruptcy,                                         $245   filing fee
                and                                                                                  $78    administrative fee
                                                                                     +_________$15____trustee surcharge
                Your debts are primarily consumer debts.                                             $338   total fee
                Consumer debts are defined in 11 U.S.C.
                § 101(8) as “incurred by an individual                               Chapter 7 is for individuals who have financial
                primarily for a personal, family, or                                 difficulty preventing them from paying their
                household purpose.”                                                  debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged. The
           The types of bankruptcy that are                                          bankruptcy discharge relieves you after
           available to individuals                                                  bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
           Individuals who meet the qualifications may file                          particular debts, and liens on property may still
           under one of four different chapters of the                               be enforced after discharge. For example, a
           Bankruptcy Code:                                                          creditor may have the right to foreclose a home
                                                                                     mortgage or repossess an automobile.
                Chapter 7 - Liquidation
                                                                                     However, if the court finds that you have
                Chapter 11 - Reorganization                                          committed certain kinds of improper conduct
                                                                                     described in the Bankruptcy Code, the court
                Chapter 12 - Voluntary repayment plan                                may deny your discharge.
                                 for family farmers
                                 or fishermen                                        You should know that even if you file
                                                                                     chapter 7 and you receive a discharge, some
                Chapter 13 - Voluntary repayment plan                                debts are not discharged under the law.
                                 for individuals with regular                        Therefore, you may still be responsible to pay:
                                 income                                                   most taxes;
                                                                                          most student loans;
           You should have an attorney review your decision                               domestic support and property settlement
           to file for bankruptcy and the choice of chapter.
                                                                                          obligations;




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               most fines, penalties, forfeitures, and                               your income is more than the median income
               criminal restitution obligations; and                                 for your state of residence and family size,
               certain debts that are not listed in your                             depending on the results of the Means Test, the
                                                                                     U.S. trustee, bankruptcy administrator, or
               bankruptcy papers.
                                                                                     creditors can file a motion to dismiss your case
                                                                                     under § 707(b) of the Bankruptcy Code. If a
           You may also be required to pay debts arising                             motion is filed, the court will decide if your
           from:                                                                     case should be dismissed. To avoid dismissal,
                                                                                     you may choose to proceed under another
               fraud or theft;                                                       chapter of the Bankruptcy Code.
               fraud or defalcation while acting in breach
               of fiduciary capacity;                                                If you are an individual filing for chapter 7
               intentional injuries that you inflicted; and                          bankruptcy, the trustee may sell your property
               death or personal injury caused by                                    to pay your debts, subject to your right to
                                                                                     exempt the property or a portion of the
               operating a motor vehicle, vessel, or
                                                                                     proceeds from the sale of the property. The
               aircraft while intoxicated from alcohol or
                                                                                     property, and the proceeds from property that
               drugs.
                                                                                     your bankruptcy trustee sells or liquidates that
                                                                                     you are entitled to, is called exempt property.
           If your debts are primarily consumer debts, the                           Exemptions may enable you to keep your
           court can dismiss your chapter 7 case if it finds                         home, a car, clothing, and household items or
           that you have enough income to repay                                      to receive some of the proceeds if the property
           creditors a certain amount. You must file                                 is sold.
           Chapter 7 Statement of Your Current Monthly
           Income (Official Form 122A-1) if you are an                               Exemptions are not automatic. To exempt
           individual filing for bankruptcy under                                    property, you must list it on Schedule C: The
           chapter 7. This form will determine your                                  Property You Claim as Exempt (Official Form
           current monthly income and compare whether                                106C). If you do not list the property, the
           your income is more than the median income                                trustee may sell it and pay all of the proceeds
           that applies in your state.                                               to your creditors.

           If your income is not above the median for
           your state, you will not have to complete the
           other chapter 7 form, the Chapter 7 Means                                 Chapter 11: Reorganization
           Test Calculation (Official Form 122A-2).
                                                                                                     $1,167   filing fee
                                                                                     +_________$571___administrative fee
           If your income is above the median for your                                               $1,738   total fee
           state, you must file a second form -the
           Chapter 7 Means Test Calculation (Official
           Form 122A-2). The calculations on the form-
                                                                                     Chapter 11 is often used for reorganizing a
           sometimes called the Means Test-deduct
                                                                                     business, but is also available to individuals.
           from your income living expenses and
                                                                                     The provisions of chapter 11 are too
           payments on certain debts to determine any
                                                                                     complicated to summarize briefly.
           amount available to pay unsecured creditors. If



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         Read These Important Warnings


           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a
           mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
           and following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


           Chapter 12:           Repayment plan for family                            Under chapter 13, you must file with the court
                                 farmers or fishermen                                 a plan to repay your creditors all or part of the
                                                                                      money that you owe them, usually using your
                           $200       filing fee
                                                                                      future earnings. If the court approves your
           +               $78        administrative fee
                           $278       total fee
                                                                                      plan, the court will allow you to repay your
                                                                                      debts, as adjusted by the plan, within 3 years or
                                                                                      5 years, depending on your income and other
           Similar to chapter 13, chapter 12 permits
                                                                                      factors.
           family farmers and fishermen to repay their
           debts over a period of time using future
                                                                                      After you make all the payments under your
           earnings and to discharge some debts that are
                                                                                      plan, many of your debts are discharged. The
           not paid.
                                                                                      debts that are not discharged and that you may
                                                                                      still be responsible to pay include:
           Chapter 13:            Repayment plan for
                                  individuals with regular                                 domestic support obligations,
                                  income                                                   most student loans,
                           $235       filing fee                                           certain taxes,
           +               $78        administrative fee                                   debts for fraud or theft,
                           $313       total fee                                            debts for fraud or defalcation while acting
                                                                                           in a fiduciary capacity,
                                                                                           most criminal fines and restitution
           Chapter 13 is for individuals who have regular
           income and would like to pay all or part of                                     obligations,
           their debts in installments over a period of time                               certain debts that are not listed in your
           and to discharge some debts that are not paid.                                  bankruptcy papers,
           You are eligible for chapter 13 only if your                                    certain debts for acts that caused death or
           debts are not more than certain dollar amounts                                  personal injury, and
           set forth in 11 U.S.C. § 109.                                                   certain long-term secured debts.


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                                                                                     A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                        together-called a joint case. If you file a joint
                                                                                     case and each spouse lists the same mailing
             Section 521(a)(1) of the Bankruptcy Code
             requires that you promptly file detailed information                    address on the bankruptcy petition, the
             about your creditors, assets, liabilities, income,                      bankruptcy court generally will mail you and
             expenses and general financial condition. The                           your spouse one copy of each notice, unless
             court may dismiss your bankruptcy case if you do
             not file this information within the deadlines set by
                                                                                     you file a statement with the court asking that
             the Bankruptcy Code, the Bankruptcy Rules, and                          each spouse receive separate copies.
             the local rules of the court.

             For more information about the documents and                            Understand which services you
             their deadlines, go to:                                                 could receive from credit
             http://www.uscourts.gov/forms/bankruptcy-forms
                                                                                     counseling agencies


           Bankruptcy crimes have serious
                                                                                     The law generally requires that you receive a
                                                                                     credit counseling briefing from an approved
           consequences
                                                                                     credit counseling agency. 11 U.S.C. § 109(h).
                                                                                     If you are filing a joint case, both spouses must
                If you knowingly and fraudulently conceal
                                                                                     receive the briefing. With limited exceptions,
                assets or make a false oath or statement
                                                                                     you must receive it within the 180 days before
                under penalty of perjury-either orally or
                                                                                     you file your bankruptcy petition. This briefing
                in writing-in connection with a
                                                                                     is usually conducted by telephone or on the
                bankruptcy case, you may be fined,
                                                                                     Internet.
                imprisoned, or both.
                                                                                     In addition, after filing a bankruptcy case, you
                All information you supply in connection with a
                                                                                     generally must complete a financial
                bankruptcy case is subject to
                                                                                     management instructional course before you
                examination by the Attorney General acting
                                                                                     can receive a discharge. If you are filing a joint
                through the Office of the U.S. Trustee, the
                                                                                     case, both spouses must complete the course.
                Office of the U.S. Attorney, and other
                offices and employees of the U.S.
                                                                                     You can obtain the list of agencies approved to
                Department of Justice.
                                                                                     provide both the briefing and the instructional
                                                                                     course from: http://www.uscourts.gov/services-
           Make sure the court has your                                              forms/bankruptcy/credit-counseling-and-debtor-
           mailing address                                                           education-courses.

           The bankruptcy court sends notices to the                                 In Alabama and North Carolina, go to:
           mailing address you list on Voluntary Petition                            http://www.uscourts.gov/services-
           for Individuals Filing for Bankruptcy (Official                           forms/bankruptcy/credit-counseling-and-
           Form 101). To ensure that you receive                                     debtor-education-courses.
           information about your case, Bankruptcy
           Rule 4002 requires that you notify the court of                           If you do not have access to a computer, the
           any changes in your address.                                              clerk of the bankruptcy court may be able to help
                                                                                     you obtain the list.




                  I have read the above document, and any questions I may have were answered by my attorney before signing.


                          05/20/2021 /s/ Christina Marie Franzoso
                                                              Christina Marie Franzoso




               Dated: 05/20/2021 /s/ Jonathan Daniel Parker
                                            Attorney: Jonathan Daniel Parker
860190    Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                  page 4
                Case 21-06553                Doc 1           Filed 05/20/21 Entered 05/20/21 11:00:32                                       Desc Main
                                                              Document     Page 53 of 62
Debtor 1   Christina                 Marie                     Franzoso
           __________________________________________________________________                                Case Number (if known) ______________________________
           First Name                 Middle Name                     Last Name




 Part 6:       Answer These Questions for Reporting Purposes


                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                  as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.

                                                ________________________________________________________________

17.   Are you filing under
                                                No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
                                                Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      Do you estimate that after                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                        No.
      administrative expenses
                                                          Yes.
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                     1-49                                    1,000-5,000                                     25,001-50,000
      you estimate that you                     50-99                                   5,001-10,000                                    50,001-100,000
      owe?                                      100-199                                 10,001-25,000                                   More than 100,000
                                                200-999

19.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your assets to                   $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      be worth?                                 $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

20.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your liabilities                 $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      to be?                                    $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

 Part 7:       Sign Below


                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.

                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.

                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                         û      ________________________________________
                                                Signature of Debtor 1
                                                                                                                û     ______________________________________
                                                                                                                      Signature of Debtor 2


                                                             05/20/2021
                                                Executed on _________________                                         Executed on _________________
                                                               MM / DD / YYYY                                                        MM / DD / YYYY

Official Form 101       Record #   860190               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 6
                Case 21-06553                Doc 1        Filed 05/20/21 Entered 05/20/21 11:00:32                                        Desc Main
                                                           Document     Page 54 of 62
Debtor 1   Christina                 Marie                     Franzoso
           __________________________________________________________________                               Case Number (if known) ______________________________
           First Name                 Middle Name                  Last Name




                                      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
For your attorney, if you are         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
represented by one                    each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required
                                      by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an
if you are not represented            inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         û________________________________________
                                          Signature of Attorney for Debtor
                                                                                                                Date
                                                                                                                            _______/_______/2021
                                                                                                                            _______________________
                                                                                                                            MM / DD / YYYY



                                               Jonathan Daniel Parker
                                          _______________________________________________________________________________
                                          Printed name

                                              Geraci Law L.L.C.
                                          _______________________________________________________________________________
                                          Firm name

                                              55 E. Monroe St., #3400
                                          _______________________________________________________________________________
                                          Number Street

                                          _______________________________________________________________________________


                                                Chicago
                                          _____________________________________________
                                                                                                              IL               60603
                                                                                                      __________ ____________________
                                          City                                                               State        ZIP Code



                                                          312-332-1800
                                          Contact Phone ________________________________                                        ndil@geracilaw.com
                                                                                                                Email address ___________________



                                                6297378                                                            IL
                                          ______________________________________________                        ___________
                                          Bar number                                                            State




Official Form 101       Record #   860190             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 7
                          Case 21-06553                Doc 1             Filed 05/20/21 Entered 05/20/21 11:00:32                                 Desc Main
                                                                          Document     Page 55 of 62
   Fill in this information to identify your case:


    Debtor 1                Christina                 Marie                     Franzoso
                            __________________________________________________________________
                            First Name                     Middle Name                  Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                     Middle Name                  Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _ILLINOIS__
                                                                                  (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                        Check if this is an
                                                                                                                                                      amended filing




Official Form 106 Dec
Declaration About an Individual Debtor's Schedules                                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below




   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No

             Yes. Name of Person _____________________________________________.                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and
   correct.




  û      ________________________________________
         Signature of Debtor 1
                                                                                 û     ______________________________________
                                                                                       Signature of Debtor 2


               05/20/2021
         Date _________________                                                        Date _________________
              MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 106Dec                     Record # 860190        Declaration About an Individual Debtor's Schedules                                                     page 1
                     Case 21-06553                  Doc 1          Filed 05/20/21 Entered 05/20/21 11:00:32                                     Desc Main
                                                                    Document     Page 56 of 62
Debtor 1      Christina                 Marie                     Franzoso
              __________________________________________________________________                                    Case Number (if known) ______________________________
                First Name                   Middle Name                      Last Name


 24    Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No.
            Yes. Fill in the details.
                                                            Governmental unit                           Environmental law, if you know it        Date of notice


 25    Have you notified any governmental unit of any release of hazardous material?

            No.
            Yes. Fill in the details.
                                                            Governmental unit                           Environmental law, if you know it        Date of notice


 26    Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Fill in the details.
                                                            Court or agency                             Nature of the case                       Status of the case



   Part 11:         Give Details About Your Business or Connections to Any Business


 27    Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation


            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.


 28    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

            No.
            Yes. Fill in the details.
                                                           Date issued

  Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      û     ________________________________________
            Signature of Debtor 1
                                                                                   û      ______________________________________
                                                                                          Signature of Debtor 2


                  05/20/2021
            Date _________________                                                        Date _________________
                  MM / DD / YYYY                                                                MM / DD / YYYY


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No

           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No

           Yes. Name of person ___________________________________________________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).



Official Form 107             Record # 860190                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
                          Case 21-06553                 Doc 1        Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
             Christina                 Marie                     Franzoso
Debtor 1     __________________________________________________________________
                                                                      Document                62Number (if known) ______________________________
                                                                                   Page 57 ofCase
             First Name                   Middle Name                    Last Name



   Part 2:         List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).



     Describe your unexpired personal property leases                                                                                            Will the lease be assumed?

    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


    Lessor's name:                                                                                                                                    No

                                                                                                                                                      Yes
    Description of leased
    property:


  Part 3:         Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.




û    ________________________________________
     Signature of Debtor 1
                                                                       û     ________________________________________
                                                                             Signature of Debtor 2

           05/20/2021
     Date _________________                                                  Date _________________
          MM / DD / YYYY                                                          MM / DD / YYYY

Official Form 108               Record # 860190         Statement of Intention for Individuals Filing Under Chapter 7                                                   Page 2 of 2
                Case 21-06553               Doc 1        Filed 05/20/21 Entered 05/20/21 11:00:32                              Desc Main
                                                          Document     Page 58 of 62
B2030 (Form 2030) (12/15)

                                                  United States Bankruptcy Court
                                           NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
In re

Christina Marie Franzoso / Debtor                                                                     Case No:

                                                                                                      Chapter:     Chapter 7

                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept                    $1,400.00
        Prior to the filing of this statement I have received          $1,400.00
        Balance Due                                                         $0.00




2.      The source of the compensation paid to me was:
              Debtor(s)               Other: (specify)
3.      The source of compensation to be paid to me is:

               Debtor(s)              Other: (specify)
4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
            of my law firm.

            I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
            of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;
     b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
     Fee does NOT include any work done post-filing.


                                                                CERTIFICATION
                       I certify that the foregoing is a complete statement of any agreement or arrangement for
                    payment to me for representation of the debtor(s) in this bankruptcy proceedings.

                       Dated: _______/_______/2021
                       ____________________________               ____________________________
                       Date                                       Signature of Attorney

                                                                  ________________________________________
                                                                   Geraci Law L.L.C.
                                                                  Name of law firm




Record #      860190                                                                                                                         Page 1 of 1
                     Case 21-06553 DISCLAIMER       Doc 1 Filed 05/20/21    Debtors Page        Entered
                                                                                              have       read  05/20/21
                                                                                                                     and agree:  11:00:32 Desc Main
1.
                                                                     Document                          59    of   62
      Divorce or family support debts to a spouse, ex-spouse, child, guardian ad litem or similar person or entity in connection with a separation agreement,
divorce decree or court order are not dischargable. Priority support debts must be paid in full in your Chapter 13 or it cannot be confirmed. DEBTS YOU AGREED
TO ASSUME IN MARITAL SETTLEMENT AGREEMENTS are NON-DISCHARGEABLE if your ex-spouse files an adversary complaint, and the Judge rules that
(a) you do not have the ability to pay the debt OR (b) discharging such debt would result in a benefit to you that outweighs the detriment to ex-spouse or your
child. You agree to get advice in writing from your divorce attorney and send to us with copy of agreement. You must list any ex-spouse or spouse as a creditor.
No guarantee any divorce debt is dischargeable. Property you are still on title to, or have a right to in a divorce, may be taken by a Bankruptcy trustee in a
Chapter 7 and sold, or may be disposable income in a 13.
2.      Student loans and educational benefits are not discharged in Chapter 7 or 13 if government insured loan or owed to non-profit school unless you pay us to
file a complaint within the bankruptcy to prove repayment would be an "undue hardship", and win. Interest on student loans continue to run while you are in a
Chapter 13.
3.     Cosigners, joint applicants, debts of persons other than debtor, debts incurred during marriage in community property states, or for family support are
not discharged and joint, community or co-signers are not protected from collection unless you pay 100% of the debt. Creditors can collect from co-signors and put
your bankruptcy on their credit report, and report them negatively to credit bureaus. You may prevent this by making the regular payments to the creditor.
Creditors can liquidate collateral of your co-signer and refuse to continue payment in installments. Property you are joint on with other persons can be
LIQUIDATED to pay your creditors.
4.     TAX DEBTS. Most taxes are not discharged in bankruptcy. However, income tax debt (1040 type tax) can be discharged if the following four rules are met:
(1). The tax return was DUE at least 3 YEARS (plus extensions) before the filing of your bankruptcy case. (2). You FILED your income tax return at least 2
YEARS before your bankruptcy was filed. (You did not file a return if the tax authority or IRS had to file one for you, or if you didn't send the return to the District
Director) (3). You did not wilfully intend to evade the tax. (4). The tax must have been ASSESSED over 240 DAYS before the bankruptcy filing. We recommend
you meet with the IRS or state department of revenue to make sure all the conditions have been met, before you hire us or file a bankruptcy. Fraudulent taxes
and taxes on unfiled returns can be discharged in a Chapter 13 case. Time in an offers in compromise, & time in bankruptcy plus 6 months, will extend the above
time periods. Employers' share of FICA & FUTA is dischargeable, but not trust fund taxes like the employee's funds or sales tax.
5. Fines, traffic tickets, parking tickets, penalties to governmental unit are not discharged in Chapter 7, may not be discharged in 13 without full payment.
6. Non filing spouse: If you file individually, your spouse is not our client. Only your debts are discharged. If you want to protect a non-filing spouse, pay their
bills or file a joint case with them. Family expenses (medical bills, rent and necessities may be collected from a non-filing spouse). Wisconsin, community
property is liable for community debts. 7. DUI PERSONAL INJURIES, DEBTS YOU DON'T LIST are not discharged.
8. DEBTS where creditors successfully object to discharge may survive Creditors, the Trustee, or Court, can try to deny discharge based on many factors,
a. Income sufficient to pay a percentage of your unsecured debt. b. Failure to keep books and records documenting your financial affairs. c. Luxury purchases
or cash advances within 60 days of filing or without intent or ability to repay. d. Debts you made by false pretenses, breach of fiduciary duty, wilful and malicious
injuries to others e. Benefit overpayments like aid or unemployment if a determination of fraud has been made before or during bankruptcy. f. Failure to appear
at meetings, court dates, or co-operate with the Trustee.
9. INTEREST ON NON-DISCHARGEABLE DEBTS in a Chapter 13 continues to accrue, and CREDITORS WHO DO NOT FILE CLAIMS in your Chapter 13 plan within 90 days (180 days for
governmental units) of the meeting of creditors, do not get paid. Your plan and their claim should provide for interest at contract rate, or you will have to pay the
debt outside the Chapter 13 plan. Property taxes must be paid by you directly to avoid sale for delinquent taxes.
10. LIQUIDATION OF REAL AND PERSONAL PROPERTY. If you file a Chapter 7, any property that is not listed and claimed exempt on Schedule C pursuant to
state or federal law is taken and sold by the trustee to pay creditors. You agree to assume the risk that your property will be taken and sold by the bankruptcy
trustee (at or less than what it is worth) if we can't protect it under applicable state law. You get a discharge, but the trustee can take property not listed and
exempted on schedules B and C and sell it for whatever price will provide some benefit to creditors.
11. CHANGE IN LAWS. Laws & court cases change constantly. We can file your case today if you pay us in full (some attorneys give credit, we don't) pay the
filing fee and sign your petition in our main office. ANY DELAY either in hiring us, or after, IS YOUR RESPONSIBILITY. ADVERSE RULINGS Judges that sit in
adjoining courtrooms can rule differently on the same facts. We can predict but can't guarantee a judge will or will not rule against you. You accept the risk of a
judge ruling against you, as in any lawsuit.
12. PAYMENTS TO CREDITORS YOU PREFERRED to pay more than $600 in front of others, within 1 yr if a relative or insider, or within 90 days if another
creditor, so don't pay off debts to keep credit cards or protect others. TRANSFERS OF PROPERTY within 4 years that made you unable to pay your debts at the
time can be reversed by a Trustee and the transferee will have to give back the property you transferred.
13. SURRENDER OF PROPERTY Bankruptcy gets rid of debts, but real estate, condos and time shares remain in your name until a foreclosure sale or the lender
accepts a deed in lieu of foreclosure. Turn condo keys over to condo association or remain liable for assessments after filing, and make sure you keep buildings &
land insured and maintained and secured until it is taken back by lender or out of your name. If you let a house go vacant and pipes explode or someone gets
killed in there you may be liable.
14. RIGHT TO RECEIVE inheritances, tax refunds, injury claims, compensation of any kind, insurance or realty commissions, are property of the bankruptcy estate
and you will surrender these to the trustee unless they are claimed exempt on Schedule C, and no objection to your claim of exemption is upheld. Do not deduct
extra money from taxes so you are entitled to a refund, change your W-9 if necessary.
15. JOINT ACCOUNT HOLDERS holders entire amount in the account could be taken by the trustee under Chapter 7.
16. MARRIED COUPLES GOING THROUGH DIVORCE: We have been advised to seek independent counsel for our bankruptcy. We understand that Peter Francis
Geraci does not represent us with regard to any divorce matters and does not make any representations regarding what will happen in divorce court. We have
decided to file a bankruptcy together dispite the fact that we are getting a divorce and our interests could be adverse. We have agreed to cooperate with each
other in this joint bankruptcy.
17. AUTO LEASES & INSTALLMENT AGREEMENTS to purchase things, leases and almost all contracts will be void after bankruptcy. They are "executory
contracts", and if they are of no benefit to the bankruptcy estate and not assumed within 60 days of filing, they are void. Debtors have been warned of this, and
unless there is a novation under state law, or agreement not to use bankrptcy to void the contract, the debtors rights under the contract are extinguished. Debtor
agrees to be responsible for obtaining such agreements or losing rights under such contracts. Debtor agrees that his or her attorney will not file motions to assume
such contracts.
18. Setoffs if you have money in a credit union or creditor account, or other loans that cross-collateralized, any money or property may be taken for both loans.
The Undersigned have read the above & assume the risk that a debt is not discharged in bankruptcy, that our non-exempt property will be taken and sold by the
bankruptcy trustee if it can't be protected, that the trustee might object if I/we have excess income, or change in State, Federal or Bankruptcy laws before the case
is filed in Court AND WE HAVE TO READ, CHECK, & MAKE SURE OUR PETITION IS ACCURATE!!!!


 05/20/2021                                                                                                                                                   X Date & Sign
                                                                           Christina Marie Franzoso




Record #      860190                                                                                                                                      Asset Disclosure   Page 1 of 1
               Case 21-06553            Doc 1
                                        Filed 05/20/21 Entered 05/20/21 11:00:32 Desc Main
                                         Document     Page 60 of 62
                                   UNITED STATES BANKRUPTCY COURT
In re
                              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 Christina Marie Franzoso / Debtor                                                                       Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




05/20/2021                                                                                                               X Date & Sign
                                                        Christina Marie Franzoso




           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
Record #     860190                                                                                    B 1D (Official Form 1, Exh.D)(12/08)   Page 1 of 1
                    Case 21-06553                   Doc 1        Filed 05/20/21 Entered 05/20/21 11:00:32                                     Desc Main
                                                                  Document     Page 61 of 62
Debtor 1    Christina                 Marie                     Franzoso
            __________________________________________________________________                                Case Number (if known) ______________________________
            First Name                    Middle Name                    Last Name


 Part 3:         Sign Below


           By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                              Christina Marie Franzoso


             Date:05/20/2021
           If you checked line 14a, do NOT fill out or file Form 122A-2.

           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1          Record # 860190               Chapter 7 Statement of Your Current Monthly Income                                                        Page 3
         Case 21-06553              Doc 1         Filed 05/20/21 Entered 05/20/21 11:00:32                              Desc Main
                                                   Document     Page 62 of 62



                                                                                      A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                        together-called a joint case. If you file a joint
                                                                                      case and each spouse lists the same mailing
              Section 521(a)(1) of the Bankruptcy Code
              requires that you promptly file detailed information                    address on the bankruptcy petition, the
              about your creditors, assets, liabilities, income,                      bankruptcy court generally will mail you and
              expenses and general financial condition. The                           your spouse one copy of each notice, unless
              court may dismiss your bankruptcy case if you do
              not file this information within the deadlines set by
                                                                                      you file a statement with the court asking that
              the Bankruptcy Code, the Bankruptcy Rules, and                          each spouse receive separate copies.
              the local rules of the court.

              For more information about the documents and                            Understand which services you
              their deadlines, go to:                                                 could receive from credit
              http://www.uscourts.gov/forms/bankruptcy-forms
                                                                                      counseling agencies


           Bankruptcy crimes have serious
                                                                                      The law generally requires that you receive a
                                                                                      credit counseling briefing from an approved
           consequences
                                                                                      credit counseling agency. 11 U.S.C. § 109(h).
                                                                                      If you are filing a joint case, both spouses must
                 If you knowingly and fraudulently conceal
                                                                                      receive the briefing. With limited exceptions,
                 assets or make a false oath or statement
                                                                                      you must receive it within the 180 days before
                 under penalty of perjury-either orally or
                                                                                      you file your bankruptcy petition. This briefing
                 in writing-in connection with a
                                                                                      is usually conducted by telephone or on the
                 bankruptcy case, you may be fined,
                                                                                      Internet.
                 imprisoned, or both.
                                                                                      In addition, after filing a bankruptcy case, you
                 All information you supply in connection with a
                                                                                      generally must complete a financial
                 bankruptcy case is subject to
                                                                                      management instructional course before you
                 examination by the Attorney General acting
                                                                                      can receive a discharge. If you are filing a joint
                 through the Office of the U.S. Trustee, the
                                                                                      case, both spouses must complete the course.
                 Office of the U.S. Attorney, and other
                 offices and employees of the U.S.
                                                                                      You can obtain the list of agencies approved to
                 Department of Justice.
                                                                                      provide both the briefing and the instructional
                                                                                      course from: http://www.uscourts.gov/services-
           Make sure the court has your                                               forms/bankruptcy/credit-counseling-and-debtor-
           mailing address                                                            education-courses.

           The bankruptcy court sends notices to the                                  In Alabama and North Carolina, go to:
           mailing address you list on Voluntary Petition                             http://www.uscourts.gov/services-
           for Individuals Filing for Bankruptcy (Official                            forms/bankruptcy/credit-counseling-and-
           Form 101). To ensure that you receive                                      debtor-education-courses.
           information about your case, Bankruptcy
           Rule 4002 requires that you notify the court of                            If you do not have access to a computer, the
           any changes in your address.                                               clerk of the bankruptcy court may be able to help
                                                                                      you obtain the list.




                   I have read the above document, and any questions I may have were answered by my attorney before signing.


                           05/20/2021                                                                                       X Date & Sign
                                                               Christina Marie Franzoso




         Dated: ____/_____/2021
                                             Attorney: Jonathan Daniel Parker
860190     Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                  page 4
